Case 1:15-cv-01106-LO-MSN Document 46 Filed 01/02/18 Page 1 of 12 PageID# 692



                      IN THE UNITED STATES DISTRICT COURT

                      FOR THE EASTERN DISTRICT OF VIRGINIA

                                    Alexandria Division


         UNITED STATES OF AMERICA,
         Plaintiff,
         v.
         ALL ASSETS IN AUSTRALIA                  Civil Action No.: 1:15-cv-1106
         AND ELSEWHERE LISTED IN
         ATTACHMENT A, AND ALL                    The Honorable Liam O’Grady
         INTEREST, BENEFITS, AND
         ASSETS TRACEABLE
         THERETO,
         Defendants in Rem.


                 UNITED STATES’ OPPOSITION TO CLAIMANTS’
                  MOTION FOR EXTENION OF TIME TO FILE
                MOTION TO DISMISS OR TO SET ASIDE DEFAULT

       Pending before the Court is the Plaintiff’s Motion to Strike, Dkt. #33, a ruling on

which should be based on this Court’s findings that the assets at issue are illicit proceeds

of crime, that the Claimants are seeking “to avoid criminal prosecution,” and that it is

appropriate for the Court therefore to strike any claims by the Claimants. See United

States v. All Assets Listed in Attachment A, etc., 1:14cv969 (E.D. Va.). It is particularly

appropriate to strike claims where the Claimants failed to even submit an answer within

the time period ordered by this Court (after it granted the Claimants’ motion to stay more

than two years ago). The Court-imposed deadline to answer was August 19, 2016 and no

answer required by Supplemental Rule G(5) has yet been filed. The Government filed its

pending Motion to Strike on November 28, 2017. Despite having the Court extend their
Case 1:15-cv-01106-LO-MSN Document 46 Filed 01/02/18 Page 2 of 12 PageID# 693



deadline to answer the Complaint for over two years, the Claimants now seek to delay the

proceedings even further and deny the victims of their conduct from obtaining any

possible restitution. In light of the clear prejudice, the Court should deny this attempt,

dismiss the Claimants’ motions, and grant the pending motion to strike their claims.

   The Claimants contend that they are not in procedural default (though they still have

not answered the Complaint filed on August 28, 2015), and ask that the Court should

deem their motion to dismiss, Dkt. #39, as appropriate and timely, or, in the alternative,

set aside any default that the Court may order and allow Claimants’ motion to dismiss to

be filed. Claimants’ Memorandum In Support, Dkt. #41 at 1. The United States believes

there is no appropriate legal basis to do so and the Claimants are merely trying to further

delay these proceedings after years of purposeful delay.

   1. The Stay Originally Sought by the Claimants in 2015 Has Been Lifted for
      Over a Year By the Plain Language of the Court’s Order

   On December 1, 2015, United States Magistrate Judge Michael S. Nachmanoff

entered an Order extending the time to respond to the Complaint to “a date (i) seven (7)

days after the Court denies the pending stay motion, or (ii) if the stay motion is granted,

seven (7) days after the Court lifts the stay.” Dkt. #31. Subsequently, on December 7,

2015, this Court granted Claimants’ stay motion in part, stating

       This action is STAYED until the United States Court of Appeals for the Fourth
       Circuit issues a decision in United States v. Batato, 1:15-1360. The Court will
       reconsider the request to stay this action pending the outcome of United States v.
       Dotcom, 1:15-cr-00003, on motion of the parties, after the Fourth Circuit has
       issued a decision in United States v. Batato.

Dkt. #32 at 6. Despite its plain language, the Claimants now contend that “the Court has not yet

entered an order that ‘lifts the stay.’” Dkt. #41 at 7. However, the December 7, 2015, order lifted

the stay once the Fourth Circuit issued its decision in United States v. Batato, 1:15-1360, which


                                              2
Case 1:15-cv-01106-LO-MSN Document 46 Filed 01/02/18 Page 3 of 12 PageID# 694



occurred on August 12, 2016, 1 see United States v. Batato, 833 F.3d 413 (4th Cir. 2016), and

required an answer within seven days of that issuance. 2 To conclude otherwise, as the Claimants

would have the Court do, the Court would have to find that it intended to grant an additional

indefinite stay and further ignore the clear dictates of the assigned Magistrate Judge.

    2. There Has Yet to Be a Finding of Any Kind of Default, so the Claimants’
       Motion are Premature, at Best.

    Claimants contend that “there is no procedural basis under which the Court could

now find a procedural default” because the Government has not moved for entry of

default or a default judgment under Fed. R. Civ. P. 55, nor has the Clerk entered default.

Dkt. #41 at 9. The Claimants’ argument is obviously premature with respect to a default

judgment, but this is not true for the Claimants’ failure to meet the deadline set by the

Court when they did not answer the Plaintiff’s Complaint as required by Rule G(5)(b).

    As indicated in its Motion to Strike, Dkt. #33, p. 16-19, under Supplemental Rule

G(5)(b), a “claimant must serve and file an answer to the complaint or a motion under

Rule 12 within 21 days after filing the claim.” Rule G(8)(c) provides that the United

States may move to strike a claim or answer for failing to comply with Rule G(5). See

U.S. v. $113,550.58 In Funds From JP Morgan Chase Bank, 3:16CV341, 2016 WL

6134536, at *2–3 (E.D. Va. Oct. 20, 2016); see also United States v. $104,250.00 in U.S.

Currency, 947 F. Supp. 2d 560, 563 (D. Md. 2013); United States v. Four Hundred

Seventeen Thousand, One Hundred Forty–Three Dollars & Forty–Eight Cents


1
  In fact, the Claimants’ petition for certiorari before the U.S. Supreme Court in the
related case was denied on October 2, 2017 and yet no action was taken by the Claimants
as of the Government’s filing on November 28, 2017.
2
  The subsequent language in the December 7, 2015, order merely informed the parties
that the Court would consider an additional stay based on the pending criminal case if the
parties filed a motion to request such a stay.
                                              3
Case 1:15-cv-01106-LO-MSN Document 46 Filed 01/02/18 Page 4 of 12 PageID# 695



($417,143.48), No. 13–CV–5567 MKB, 2015 WL 5178121, at *4 (E.D.N.Y. Sept. 2,

2015) (“At any time before trial, the government may move to strike a claim pursuant to

Forfeiture Rule G (8) (c) on the grounds that the claimant lacks standing to make the

claim, or on the grounds that the claimant did not comply with Forfeiture Rule G(5) ....”).

“A claimant who fails to comply with the Supplemental Rules lacks statutory standing to

assert a claim.” United States v. $18,690.00 in U.S. Currency, No. 5:13CV00026, 2014

WL 1379914, at *2 (W.D. Va. Apr. 8, 2014) (citing United States v. $119,030.00 in U.S.

Currency, 955 F.Supp.2d 569, 577 (W.D.Va.2013)). While courts have the discretion to

excuse some procedural failures, strict compliance is normally required. See United

States v. Amiel, 995 F.2d 367, 371 (2d Cir. 1993) (granting motion to strike claim when

claimant failed to file an answer to the complaint or demonstrate excusable neglect for

failing to do so); see also United States v. $39,557.00, More or Less, in U.S. Currency,

683 F.Supp.2d 335, 338–39 (D.N.J. 2010). “Courts consistently have required claimants

to follow the language of the Supplemental Rules to the letter.” United States v.

Borromeo, 945 F.2d 750, 752 (4th Cir. 1991). Here, there is no serious argument that

Claimants’ failure to file any answer is excusable.

   3. There is No Basis to Ignore the Claimants’ Failure to Meet the Court’s
      Deadline Under Supplemental Rule G(5)

   Claimants contend that, if they are in procedural default, such default should be

excused because (1) they have a meritorious defense to the merits of the case; (2) due

process concerns are raised if the Government does not preserve the defendant servers;

(3) they have been “reasonably prompt;” (4) they bear no personal responsibility for any

procedural default; (5) there is no prejudice to the Government for the strike motion to be

heard prior to Claimants’ motion to dismiss; (6) there is no history of dilatory action; and


                                             4
Case 1:15-cv-01106-LO-MSN Document 46 Filed 01/02/18 Page 5 of 12 PageID# 696



(7) the less drastic sanction is for the Claimants’ motion to dismiss to be subordinated to

the Government’s pending motion to strike. None of these bases have merit, and, as

indicated in the Government’s Motion to Strike and above, strict compliance with the

Supplemental Rules is normally required. U.S. v. $113,550.58 In Funds From JP Morgan

Chase Bank, 3:16CV341, 2016 WL 6134536, at *2–3 (E.D. Va. Oct. 20, 2016) (citations

omitted).

    Claimants cite to case law treating a motion for leave to file out of time as analogous

to a motion to vacate default judgment and relying on a “good cause” standard.

However, it is not necessary to consider analogous case law since courts have provided a

more direct standard in motions for leave to file out of time: 3 a district court has

discretion to grant a defendant leave to answer out of time under Rule 6(b) if the

defendant can show the delay was caused by excusable neglect. Jetcraft Corp. v.

Banpais, S.A. De C.V., 166 F.R.D. 483, 485 (D. Kan. 1996). The excusable neglect

standard of Fed.R.Civ.P. 6(b) is a more rigorous standard than the good cause standard

employed when considering a motion to set aside a default judgment. See E.E.O.C. v.

Mike Smith Pontiac GMC, Inc., 896 F.2d 524, 528 (11th Cir. 1990). Regardless of which

standard the Court follows, Claimants do not meet the criteria for allowing them to file an

answer at this late stage of the proceeding, and strict compliance with the Supplemental

Rules is required. The Government will nonetheless address each argument raised by the

Claimants in support of their motion.



3
  Normally, a party seeking to file a late answer attaches a form of answer with their
request for leave to make an untimely filing. The fact that the Claimants are merely
seeking to delay these proceedings is further evidenced by their failure to do so here,
especially where they have fully (though unsuccessfully) litigated these same issues in a
related case.
                                               5
Case 1:15-cv-01106-LO-MSN Document 46 Filed 01/02/18 Page 6 of 12 PageID# 697



   First, the Government (and the courts) disagree that Claimants have a meritorious

defense. All of the purported defenses to forfeiture asserted in Claimants’ Motion to

Dismiss or Stay, Dkt. #39, were raised in the companion case, as evidenced by the fact

that Claimants simply incorporated by reference their prior pleadings in the related case.

Id.; see United States v. Real Property... 1 Mile Up Hennessey Road, 2011 WL 4405388,

*2-3 (E.D. Cal. Sept. 22, 2011) (declining to set aside default judgment based on

conclusory statement of possible meritorious defenses). All of their defenses to forfeiture

were rejected by this Court, the Fourth Circuit (which rejected Claimants’ arguments in a

published opinion and then denied rehearing), and even the U.S. Supreme Court. To

contend that there are meritorious defenses, when those very same arguments have been

presented to and rejected by every court to consider them is simply an inaccurate

characterization of the defenses they would now assert. If the prior exhaustive judicial

review of these very same defenses is not dispositive of the merits of the identical

defenses pled in this case, one has to ask what possible merit could these very defenses

have now. See Lewin v. Cooke, 95 F. Supp. 2d 513, 527 (E.D. Va. 2000) (noting that

claims had no chance of success under clearly established precedent and discussing

award of sanctions because “All of the claims set forth in this suit are substantively

identical to those which have previously been dismissed on the merits by this court . . .”),

aff'd, 28 F. Appx. 186 (4th Cir. 2002).

   Second, while Claimants devote a significant portion of their memorandum, Dkt. # 41

at pp. 13-16, to arguing why the defendant servers should not be forfeited but must be

preserved for the evidence they contain, Claimants have either misrepresented or have,

hopefully, confused the servers listed in the instant complaint with other servers which



                                             6
Case 1:15-cv-01106-LO-MSN Document 46 Filed 01/02/18 Page 7 of 12 PageID# 698



are not the subject of this civil forfeiture proceeding. The servers which are named in this

civil forfeiture complaint do not contain any data; they are, in fact, new servers that were

purchased with tainted proceeds and which the Claimants intended to use to further their

copyright conspiracy, not the servers Claimants used in their illegal endeavors. Indeed,

these sixty servers were purchased from Leaseweb on October 27, 2011. Dkt. #1 at ¶52.

The computers were seized before Claimants had taken physical possession of them.

There is no due process issue relating to preservation of data on the servers because there

simply never has been any data on the servers which are the subject of this forfeiture

action.

   Third, Claimants have not been “reasonably prompt” but have been dilatory, hence

the reason for the Government’s argument that their failure to file a timely answer is an

independent ground for striking their claims. Claimants Dotcom and Ortman contend

they have merely been “lawfully exercising one’s rights” to resist extradition in the

criminal case. Dkt.#41 at p. 17. While it is true that these Claimants have fought

extradition for over five years, that is not the delay at issue here. Their delay is the

failure for over a year to file the required answers to the complaint, essentially halting the

adversary process by their unresponsiveness. Cf. H.F. Livermore Corp. v.

Aktiengesellschaft Gebruder Loepfe, 432 F.2d 689, 691 (D.C.Cir. 1970). Claimants now

complain that the Government “rushed ahead seeking to strike claims in this action based

on a procedural default.” Dkt. #41 at p. 8. Instead, though it had no duty to do so, the

Government waited almost two months to file the instant motion to strike their claims

after the U.S. Supreme Court ruled against the Claimants’ petition in the related case on

October 2, 2017. By waiting 58 days after the Supreme Court denied certiorari to move



                                               7
Case 1:15-cv-01106-LO-MSN Document 46 Filed 01/02/18 Page 8 of 12 PageID# 699



to strike claims, the Government hardly “rushed” the process when it would have been

justified in moving to strike in August 2016. Claimants have no one but themselves to

blame for their dilatory actions in failing to file answers when they were ordered to do so,

and they were certainly not “reasonably prompt” when they still have not made the

required filings (which were originally due within 21 days).

    Fourth, Claimants assert they bear no personal responsibility for any purported

default. Dkt. #41 at p. 16. They argue that the fact that they “live half-a-world away in

New Zealand and are the subjects of criminal and civil proceedings taking place on three

continents . . .” somehow excuses them and their U.S.-based lawyers from complying

with the applicable rules in this case. 4 Claimants admit that they successfully sought to

stay two other civil actions brought by non-governmental parties until March 30, 2018

(Dkt. 41 at p. 3), and they could have easily sought a stay after their appeal was denied by

the Fourth Circuit but they did not. Even under the lesser standard applicable to a motion

to set aside a default judgment, an attorney’s failure to comply with the rules is not a

proper basis for relief. See United States v. $29,373.00 in U.S. Currency, 86 F. Supp.3d

95, 99-100 (D.P.R. 2015) (denying motion to set aside default judgment; explanations

offered for failure to file may have been the basis for motion for extension of time, but


4
  Mr. Dotcom and his army of high-priced lawyers around the world apparently are so
busy that they cannot “keep[] track of due dates and deadlines.” See Dkt. #41 at p. 3.
This is particularly surprising since his U.S. attorneys all agreed to be bound by the rules
and practices of the U.S. District Court for the Eastern District Court of Virginia in order
to appear for this case. Mr. Dotcom does, however, have time to talk to the press and the
Internet about his cases, while he enters his sixth year of living off illicit funds (including
tens of millions of seized funds to some of his apparently forgetful attorneys). See, e.g.
https://www.engadget.com/2017/10/03/supreme-court-denies-kim-dotcom-petition-40-
million/ (October 3, 2017); https://twitter.com/KimDotcom/status/940874634894946304
(December 13, 2017). Dotcom and the other fugitive claimants also lost their extradition
appeal at the High Court in New Zealand on February 20, 2017; their appeal of that loss
is not scheduled to be heard in the New Zealand Court of Appeal until February 7, 2018.
                                               8
Case 1:15-cv-01106-LO-MSN Document 46 Filed 01/02/18 Page 9 of 12 PageID# 700



did not constitute “exceptional circumstances; attorney’s neglect “is attributable to the

client”); United States v. One 2010 Volkswagen Jetta, 2015 WL 5666770, *3 n.7 (D.N.J.

Sept. 25, 2015) (declining to set aside default where failure to file claim was due to

attorney’s error, citing Pioneer Inv. Servs. Co. v. Brunswick Assocs. Ltd. P’ship, 507 U.S.

380, 394 (1993). Under the strict compliance regime of the Supplemental Rules, such an

argument is obviously doomed to fail.

    Fifth, Claimants assert there is no prejudice to the Government because “the

Government’s motion to dismiss 5 must be heard first.” Dkt. #41 at p. 17. Supplemental

Rule G(8)(c)(ii)(A) provides that the Government’s Motion to Strike must be resolved

prior to Claimants’ motion to dismiss. Dkt. #41, p. 4, n.4. This argument is unavailing

since the timeliness of the Claimants’ inappropriate Motion to Dismiss is not at issue,

while the timeliness of its answer is. Rule G(5)(b) required an answer by the Court-

imposed deadline. The Claimants missed that deadline by more than a year; in fact, the

Claimants missed filing an answer after the completion of their U.S. Supreme Court

appeal in the related case by almost two months. This timing stands in stark contrast to

the concept of being “reasonably prompt.” In truth, they still have not answered the

Plaintiff’s complaint and they continue at every turn to try to delay the instant

proceedings, with significant prejudice to both the government and the victims of their

alleged criminal conduct. They have no credible excuse.

    Sixth, Claimants contend there is no history of dilatory action. Dkt. #41 at p. 17.

There are no previous examples of dilatory action in this case because almost



5
 The reference is apparently to the United States’ Motion to Strike Claims, Dkt. #33.
The Government has not filed a motion to dismiss.


                                              9
Case 1:15-cv-01106-LO-MSN Document 46 Filed 01/02/18 Page 10 of 12 PageID# 701



 immediately after the complaint was filed, Claimants obtained a stay of the action. As

 explained above, the Claimants are more than a year beyond the time when the stay

 expired, and they have yet to even lodge proposed answers with the Court so there is

 clear evidence of dilatory action over an extended period of time measured in years not

 days. That is a historical delay, even if it is the first.

     Seventh, Claimants assert that the less drastic solution is for the Court to first

 consider the Government’s pending Motion to Strike, presumably on the issue of fugitive

 disentitlement before considering the alternative ground that Claimants have failed to file

 an answer within the prescribed time period. If the Court were to choose to grant the

 Government’s Motion to Strike based on the Fugitive Disentitlement Statute, there would

 be no legal necessity to address the failure to file an answer except as an independent

 additional basis supporting the Court’s ruling. If the Court were to only rule on the

 failure to file an answer, it would be likely that this would become the basis for an appeal

 that would delay these proceedings yet again. Since both grounds are independently

 valid, the Government asks that the Court grant its Motion to Strike on both grounds.




                                                 10
Case 1:15-cv-01106-LO-MSN Document 46 Filed 01/02/18 Page 11 of 12 PageID# 702



    Therefore, the government asks that the Court grant the United States’ Motion to

 Strike Claims on at least the fugitive disentitlement grounds and, if the Court wants to

 send a message about the importance of its orders, the independent additional ground that

 Claimants have failed to file timely answers to the Complaint as required by the timetable

 ordered by the Court. All of the Claimants’ requests should be denied.



                                       Respectfully submitted,

                                       Dana J. Boente
                                       United States Attorney


                               By:                        /s/
                                       Karen Ledbetter Taylor
                                       G. Wingate Grant
                                       Jay V. Prabhu
                                       Assistant United States Attorneys
                                       Attorneys for the United States of America
                                       United States Attorney’s Building
                                       Justin W. Williams U.S. Attorney’s Building
                                       2100 Jamieson Avenue
                                       Alexandria, Virginia 22314
                                       Phone: 703-299-3700
                                       Fax: 703-299-3982
                                       Email Address: Karen.taylor2@usdoj.gov




                                             11
Case 1:15-cv-01106-LO-MSN Document 46 Filed 01/02/18 Page 12 of 12 PageID# 703



                                CERTIFICATE OF SERVICE

        I hereby certify that on the 2nd day of January 2018, I electronically filed the

 foregoing with the Clerk of Court using the CM/ECF system, which will send a

 notification of such filing (NEF) to all counsel of record.




                                                                 /s/
                                               Karen Ledbetter Taylor
                                               G. Wingate Grant
                                               Jay V. Prabhu
                                               Assistant United States Attorneys
                                               Attorneys for the United States of America
                                               United States Attorney=s Office
                                               Justin W. Williams U.S. Attorney=s Building
                                               2100 Jamieson Avenue
                                               Alexandria, Virginia 22314
                                               Phone: 703/299-3700
                                               Fax: 703/299-3982
                                               Email Address: Karen.Taylor2@usdoj.gov




                                              12
